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8                                    UNITED STATES DISTRICT COURT
9                                EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                     No. 2:14-MC-00134-MCE-EFB
                                                   No. 2:15-CR-00126-MCE
12                      Plaintiff,
13            v.
14   APPROXIMATELY $1,539,136.57
     SEIZED FROM WELLS FARGO BANK                  RELATED CASE ORDER
15   ACCOUNT NUMBER XXXX3247,
     ET AL.,
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                        Defendants.
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              The Court received the Notice of Related Cases filed June 22, 2015. Examination
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     of the above-entitled actions reveals that both actions are related within the meaning of
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     Local Rule 123(a), E.D. Cal. (1997). The actions involve the same parties, are based on
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     the same or a similar claim, and involve the same property transaction or event.
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              Because the cases are already assigned to the same district judge, this Order is
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     issued for informational purposes only and shall have no effect on the status of the
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     cases.
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     DATED: June 30, 2015
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27                                             _______________________________________
                                               MORRISON C. ENGLAND, JR.
28                                             UNITED STATES DISTRICT JUDGE
